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8                           UNITED STATES DISTRICT COURT
9                         SOUTHERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                           Case No.: 19-CR-1019 DMS
12                                     Plaintiff,
                                                         ORDER DENYING MOTION FOR
13   v.                                                  SENTENCING MODIFICATION
                                                         UNDER 18 U.S.C. § 3582(C)
14   CARLOS TAMAI-ARBALLO,
15                                   Defendant.
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18          Before the Court is Defendant Carlos Tamai-Arballo’s motion to reduce his sentence
19   under 18 U.S.C. § 3582(c). The United States of America filed a response in opposition
20   and Defendant filed a reply. For the following reasons, Defendant’s motion is denied.
21                                                  I.
22                                      BACKGROUND
23          On December 6, 2019, the Court sentenced Defendant to 36 months of
24   imprisonment, followed by three years of supervised release, for violating 21 U.S.C. §
25   841(a)(1), Possession of Methamphetamine with Intent to Distribute. (Judgment, ECF No.
26   37.)
27          Defendant is 38 years old and suffers from obesity, atrial fibrillation, and
28   hypertension. (Mot. at 2-3.) The Centers for Disease Control and Prevention (CDC)

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1    identifies obesity as a condition placing an individual at increased risk of severe illness
2    from COVID-19. See Groups at Higher Risk for Serious Illness, CENTERS FOR DISEASE
3    CONTROL       AND      PREVENTION,       http://cdc.gov/coronavirus/2019-ncov/need-extra-
4    precautions/groups-at-higher-risk.html. Defendant is currently incarcerated at the Giles
5    W. Dalby Correctional Facility in Post, Texas. His expected release date is September 16,
6    2021. (Mot. at 2.) Due to the risks associated with COVID-19 and the inability to socially
7    distance in a custodial setting, Defendant now seeks a reduction of his sentence to time
8    served.
9                                                 II.
10                                         DISCUSSION
11         In general, a court may not modify a sentence of incarceration once it has been
12   imposed, unless expressly permitted by statute or Rule 35 of the Federal Rules of Criminal
13   Procedure. United States v. Penna, 319 F.3d 509, 511 (9th Cir. 2003). The First Step Act
14   (“FSA”) is such a statute. See Pub L. 115-391, 132 Stat. 5194, 5239 (2018). Among the
15   criminal justice reforms implemented by the FSA, Congress amended 18 U.S.C. §
16   3582(c)(1)(A) to allow the defendant to move the district court for compassionate release
17   after exhausting the Bureau of Prison (“BOP”) process.
18         Section 3582(c) of Title 18 of the United States Code provides that a court may not
19   modify a term of imprisonment except “upon motion of Director of the Bureau of Prisons,
20   or upon motion of the defendant.” A defendant may bring a § 3582(c) motion after he has
21   “fully exhausted all administrative rights to appeal a failure of the Bureau of Prisons” to
22   act or “the lapse of 30 days from the receipt of such a request by the warden of the
23   defendant’s facility, whichever is earlier.” 18 U.S.C. § 3582(c)(1)(A). Administrative
24   exhaustion is a prerequisite to filing the motion in district court, and “[e]xhaustion occurs
25   when the BOP denies a defendant’s application or lets thirty days pass without responding
26   to it.” United States v. Mondaca, No. 89-cr-0655-DMS, 2020 WL 1029024, at *2 (S.D.
27   Cal. Mar. 3, 2020) (internal quotation marks and citations omitted). Here, Defendant
28   submitted his request for compassionate release to the warden on July 10, 2020. (Mot. at

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1    5.) On July 28, 2020, the warden denied Defendant’s request. (Id.) Because the warden
2    has denied Defendant’s request, the Court may address the motion on its merits.
3          The FSA allows a district court to modify a sentence and grant compassionate release
4    if it finds “extraordinary and compelling reasons” warrant such a reduction, the reduction
5    complies with 18 U.S.C. § 3553(a), and the defendant “is not a danger to the safety of any
6    other person or to the community[.]” See 18 U.S.C. § 3582(c)(1)(A); United States
7    Sentencing Guidelines (“U.S.S.G”) § 1B1.13. Defendant contends he meets the foregoing
8    criteria. As the movant, Defendant bears the burden of establishing that he is eligible for
9    a sentence reduction. See United States v. Jones, 836 F.3d 896, 899 (8th Cir. 2016).
10         1. Extraordinary and Compelling Reasons
11         Defendant argues he is eligible for compassionate release because his underlying
12   health conditions make him particularly vulnerable to COVID-19. (Mot. at 6.) The
13   Sentencing Guidelines provide that extraordinary and compelling reasons may exist for
14   compassionate release where a defendant suffers from, among other conditions, “a serious
15   physical or mental condition … that substantially diminishes the ability of the defendant to
16   provide self-care within the environment of a correctional facility and from which he or
17   she is not expected to recover.” U.S.S.G § 1B1.13, cmt n.1(A)(i)(I). Defendant suffers
18   from obesity, a condition that the CDC deems to increase the risk of serious illness from
19   COVID-19. Defendant also suffers from atrial fibrillation and hypertension, which the
20   CDC believes may increase the risk of serious illness from COVID-19. Defendant takes
21   four medications to treat atrial fibrillation and hypertension. (Mot. at 3-4.)
22         The United States contends that Defendant is not entitled to compassionate release
23   because he has failed to show that his medical conditions quality as “extraordinary and
24   compelling reasons” supporting his release. (Opp. at 14.) The United States acknowledges
25   that the CDC has identified obesity as a condition that increases the risk of serious illness
26   from COVID-19.       (Id.)   Nevertheless, the United States argues that obesity alone,
27   especially when Defendant’s BMI is “35.9-36.5” which is only slightly above the CDC’s
28   BMI threshold of 30, is not enough to be deemed “extraordinary and compelling

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1    circumstances.” (Opp. at 15.) Regarding Defendant’s other medical conditions, atrial
2    fibrillation and hypertension, the United States correctly notes that they are identified by
3    the CDC in the “second tier of risk factors” as conditions that might increase the risk for
4    severe illness from COVID-19. (Opp. at 16.) The United States emphasizes that the
5    Defendant is being provided medication to treat atrial fibrillation and hypertension. (Id.)
6    Moreover, Defendant claims that the very reason that he agreed to transport
7    methamphetamine was because he could not afford the medication that he needed. 1 (Mot.
8    at 2; Opp. at 18.)
9            At the time of filing of the United States’ response, the Giles W. Dalby Correctional
10   Facility had no positive cases of COVID-19. (Opp. at 6.) Furthermore, when the prison
11   had a COVID-19 outbreak earlier, Defendant states that the prison moved him and other
12   medically vulnerable men to a new location. (Mot. at 13.)
13           Given the fact that the prison is providing Defendant with medical care and taking
14   precautionary measures to move Defendant to another location when there has been a
15   COVID-19 outbreak, Defendant fails to show that his medical conditions, combined with
16   the level of treatment he is receiving in custody, “substantially diminish[]” his ability “to
17   provide self-care within the environment of a correctional facility” during the pandemic.
18   See U.S.S.G. § 1B1.13 cmt. n.1(A)(ii)(I).
19           2. Danger to Others or the Community
20           Even where extraordinary and compelling reasons exist, the court must consider
21   whether the defendant is “a danger to the safety of any other person or to the community,
22   as provided in 18 U.S.C. § 3142(g)[.]” U.S.S.G. § 1.B1.13(1)(A), (2) cmt. n. 1. To make
23   this assessment, the Court is directed to the factors set out in § 3142(g), including, among
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       Defendant states in his Reply that he also still suffers from cardiomyopathy, which the CDC has
26   identified as a condition that increases the risk of serious illness from COVID-19. (Reply at 2-3.) But
     the medical record indicating the cardiomyopathy diagnosis is dated 2009 and the more recent prison
27   medical record does not indicate that Defendant currently suffers from cardiomyopathy. (Exhibit A,
     ECF 42.) In any case, Defendant states that he is receiving medication to manage cardiomyopathy as
28   well. (Reply at 3.)

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1    other things: (1) the nature and circumstances of the offense charged; (2) the history and
2    characteristics of the person, including character, physical and mental condition, family
3    ties, employment, financial resources, past conduct, criminal history, and drug and alcohol
4    abuse; and (3) the nature and seriousness of the danger to any person or the community
5    that release would impose. These factors are addressed in turn and overlap with the §
6    3553(a) factors.
7          While Defendant was convicted of possession of methamphetamine with intent to
8    distribute, a non-violent offense, the United States contends that Defendant poses a danger
9    to the community because Defendant would have the same motivation to commit crime as
10   he did when he agreed to transport methamphetamine. (Opp. at 18.) Defendant admits
11   that he agreed to transport methamphetamine because he needed money to pay for his
12   medication and that he will have to figure out a way to afford his medications once he
13   returns home to Mexico. (Mot. at 2; Reply at 7.) But Defendant was convicted of a non-
14   violent drug-trafficking offense and has no prior convictions or history of committing or
15   otherwise engaging in acts of violence. (Mot. at 15; PSR, ECF 23 at ¶ 29.) Defendant’s
16   record does not indicate a propensity for violence or danger to others.
17         3. § 3553(a) Factors
18         Finally, the Court must consider “the factors set forth in section 3553(a) to the extent
19   that they are applicable.” 18 U.S.C. § 3582(c)(1)(A). Section 3553(a) provides that the
20   sentencing court must impose a sentence that is “sufficient, but not greater than necessary
21   … (A) to reflect the seriousness of the offense, to promote respect for law, and to provide
22   just punishment for the offense; (B) to afford adequate deterrence to criminal conduct; (C)
23   to protect the public from further crimes of the defendant; and (D) to provide the defendant
24   with needed educational or vocational training, medical care, or other correctional
25   treatment in the most effective manner[.]” 18 U.S.C. § 3553(a)(2)(A)-(D). The court also
26   must consider, among other factors, “the nature and circumstances of the offense and the
27   history and characteristics of the defendant” and the “need to avoid unwarranted sentence
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1    disparities among defendants with similar records who have been found guilty of similar
2    conduct.” Id. § 3553(a)(1),(6).
3          Defendant contends that these factors weigh in favor of his release because
4    Defendant has spent the last several months living in constant fear that he will contract
5    COVID-19, especially with his underlying health conditions. (Mot. at 16.) Although the
6    Court is sympathetic to the risks that Defendant faces in light of COVID-19, Defendant is
7    receiving medical care in prison, thus serving the interests of § 3553(a)(2)(D).
8          Defendant also argues that further time in custody is not necessary to deter
9    Defendant and that if the Court were to sentence Defendant now, during the COVID-19
10   pandemic, Defendant would likely be sentenced to less time. (Mot. at 17.) On the other
11   hand, the United States contends that the § 3553(a) factors weigh against release because
12   Defendant’s sentence of 36 months is already less than the guideline range of 46-57
13   months. (Opp. at 19.) The United States believes that if the Court granted Defendant’s
14   motion with approximately 11 months of imprisonment and 3 years of supervised release
15   still left in his sentence, an unwarranted sentencing disparity would result. (Id.) Home
16   confinement is not a possibility for Defendant because of his immigration detainer.
17   Defendant would be processed through ICE and deported. (Id.)
18         Under § 3553(a), the Court finds that Defendant’s 36-month sentence is not greater
19   than necessary to address the overarching goals of punishment, deterrence, protection of
20   society, and rehabilitation. These factors weigh against releasing Defendant at this time.
21                                               III.
22                                CONCLUSION AND ORDER
23         For the foregoing reasons, Defendant’s motion for compassionate release is
24   respectfully denied.
25   IT IS SO ORDERED.
     Dated: October 19, 2020
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